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commanded us concerning the immersion of a vessel,” (or “vessels” if more
than one are immersed).

2. Since the vessels must be immersed in a stream valid for the ritual
immersion of women, therefore, care should be taken not to immerse in
streams at the time they are swelled by excessive rain or by the thaw. It
occurs very frequently that people do immerse vessels in streams before the
Passover when the rivers swell up; this is an improper practice. (See chapter
162:12-13.)

3. Wooden vessels need not be immersed, but if they have metal hoops,
they are to be immersed without pronouncing the benediction. Clay vessels
need not be immersed, but if they are glazed on the inside, they are to be
immersed without pronouncing the benediction; the same law applies to
porcelain vessels.

4. An old vessel which has been used by a non-Jew and jt is necessary
to put it in boiling water or made red hot, must be done before it is immersed.

5. Vessels hired or borrowed from a non-Jew need not be immersed;
but vessels hired or borrowed from Jewish dealers should be immersed with-
out pronouncing the benediction. The dealer must make the fact of the im-
mersion known to the one who subsequently buys the vessels, so that the
latter might not immerse them again and pronounce the benediction in vain.

6. Glassware manufactured by an Israelite who employs non-Jewish
workmen, should be immersed without pronouncing the benediction.

7. Tfan Israelite has given silver or any other kind of metal to a non-
Jewish artisan to make vessel out of it, or he has given to repair a leaky
vessel not large enough to hold a fourth of a lug (a quantity equal to the
capacity of one and one-half egg shelis), such vessels should be immersed
without the benediction.

8. Only vessels used to hold food ready to be eaten without any
further preparation need be immersed. The iron tools with which the matzoi
are prepared, and with which the dough is cut, and the needle with which
stuffed birds or parts of animals are sewn, need not be immersed. A slaugh-
tering knife, or a knife with which animals are skinned, since it may be used
to cut with it food fit to eat without any further preparation, also trays upon
which matzot are placed, should be immersed but without pronouncing the

benediction. A tripod upon which cooking utensils are placed, because it

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is not touched by the food, need not be immersed. A metal spit used for
roasting meat, must be immersed and the benediction pronounced. Some
authorities hold that large glass bottles in which liquids are kept to be poured
out into drinking glasses, are not classed as table utensils, and need not be
immersed; while other authorities hold that they should be immersed; they
should, therefore, be immersed without the benediction.

9. Pepper grinders should be immersed, because they have some metal
parts, but their lower parts which receive the ground pepper need not be im-
tmersed since they are made of wood. Coffee grinders should be immersed
without the benediction.

10. Before immersing the vessel, it must be thoroughly cleansed, so that
neither rust nor dirt be found on it. (A small particle of rust or a black spot,
usually found on such vessels, and regarding which people are not fastidious,
may be disregarded). The whole vessel must be submerged at one time, so
that the whole of it should be in the water. A vessel with a handle, must be
submerged with the handle and all at one time. If the vessel is held in the
hand during the immersion, the hand should first be dipped into the water;
and the vessel be held not tightly, but with an ordinary grip. If the vessel is
immersed by means of a cord, as when it is immersed in a well, the cord
should be knotted loosely, so that the water may reach every part of the
vessel.

11. If we immerse vessels with narrow openings, we must keep them in
the water until the water fills them entirely.

12. A minor, whether male or female, may not be entrusted with the
ritual of immersing vessels.

13. It is forbidden to immerse vessels either on the Sabbath or on a
festival. If we neglect to immerse a vessel before those days, we should give
it as a gift to a non-Jew, and then borrow it from him. If it is a vessel fit to
carry water in it, and we live in 2 community where it is permissible to carry
things on the Sabbath, we should draw water with it and bring the water into
the house, so that it may not appear as if we have immersed it, but we should
not say the benediction.

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Laws Concerning Bread, Cooked Food, and Milk of a Non-Jew

1. The sages have forbidden us to eat the bread of a non-Jew. In some
localities, they do buy bread of a non-Jewish baker, either when there is no
Jewish baker in that locality, or when there is one, but his bread is inferior to

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that of the non-Jewish baker. However, they are more strict regarding the
bread of a non-Jewish private person, and they permit the use of such bread
only in cases of emergency. When we are on the road, we should wait for
kosher bread, if it can be obtained within the distance of a mile. Only bread
baked especially for the family, is called private bread, but if it is made for
the purpose of being sold, it is called a baker’s bread, even though ordinarily
he does not bake for the trade; if a baker bakes bread for his own family, it
is called private bread. One authority holds that in a locality where no baker
can be found, it is even permissible to partake of the bread of a non-Jewish
private person, and one need not wait for kosher bread; and this opinion is
generally followed.

2. Ifa Jew has thrown even one piece of wood into a non-Jewish oven
at the time it was heated, the bread baked in that oven is no longer con-
sidered as the bread of a non-Jew.

3. The bread of a non-Jew is forbidden only when it is made of one of
the five species of grain: wheat, barley, spelt, rye and oats, but bread made of
pulse, like beans, peas, etc., is not considered bread; neither can it be for-
bidden as food cooked by a non-Jew, since such food is not fit to be served
on “the table of a king.”

4. Non-Jewish bread smeared over with eggs is forbidden on account
of the eggs, for it is then considered as the cooking of a non-Jew. Those cakes
which are baked on iron pans are forbidden in any event, because there isa
possibility that the iron has been smeared with some kind of forbidden fat,
and that the pan has absorbed some of the fat.

5. Jewish bread baked by a. non-Jew is much worse than the bread of a
non-Jew, and it is forbidden as food cooked by a non-Jew, unless the owner
of the bread has prepared the oven by throwing a piece of wood in it. When
we send something to be baked or roasted in an oven of a non-Jewish baker,
we must be careful to have a Jew throw a piece of wood into the oven, or
that a Jew put the bread or the pan into the oven.

6. Anarticle of food that is not eaten raw and is also fit to be served at
the table of a king, either as a relish eaten with bread or as a dessert, if cooked
or roasted by a non-Jew, even in the vessels and in the house of a Jew, is
forbidden, inasmuch as it was cooked by a non-Jew. However, an article of
food that is eaten when raw, Or if it is not a delicacy fit to be served at the
table of a king, is not forbidden as the cooking of a non-Jew. Nor need any

scruples be felt regarding the gentile’s vessels, because it is assumed that or-
dinarily no cooking had been done in them in the past twenty-four hours.

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7. A Jewish household employing a non-J ewish servant who also does
the cooking, the cooking is not forbidden, since it seems unlikely that some
member of the household will not rake the fire while the cooking is being done.

8. However, if the servant cooks food for herself only, it is not likely
that any member of the Jewish family would rake the fire—and it is possible
that even raking the fire would be of no avail; it is worse than when she
cooks for a Jew. Therefore, if she cooks food which is subject to the rules of
non-Jewish cooking, then not only the food but also the use of the pots is
forbidden, and if we happen to use them, we must consult a competent
rabbi about it.

9. The food cooked by a non-Jew for a sick. person on the Sabbath,
may not be eaten at the close of the Sabbath even by the sick person himself,
if it is possible to cook other food for him. The vessels, however, may be
used after the expiration of twenty-four hours.

10. Although an egg is fit to be swallowed raw, yet if it is cooked by a
non-Jew, it becomes forbidden food. This rule of law applies also to anything
similar to it.

11. Fruits, not fully ripened and are eaten raw only in cases of emer-
gency, are forbidden as food cooked by a non-Jew, if they are expertly pre-
served in sugar.

12. Itis customary to permit the drinking of beer made either of grain
or of honey, even when sold in the house of a non-Jew. This is not subject to
the law of non-Jewish cooking, because the grain loses its identity in the
water. It is only necessary to investigate whether or not it has been made
with wine-yeast. In a locality where Jews trifle with the law and permit the
use of non-Jewish wine, @ scrupulous person. should refrain from the use of
beer. A scrupulous Jew should avoid the drinking of coffee (without milk,
for with milk it is surely forbidden), chocolate or tea of a non-Jew. Some
authorities permit to drink the above only occasionally, but not to make it a
regular practice.

13. It is forbidden to use the milk which has been milked by a non-Jew,
not under the supervision of a Jew; and it is even forbidden to make cheese
from it. It is necessary that a Jew be present when the milking is begun and

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22. If women eat together with men who are obliged to unite in saying
Grace, they must listen to its recital. Tt is the custom not to include a minor
in the quorum for reciting the formal Grace, unless he is thirteen years and
one day old, even though it has not been ascertained whether or not he
brought forth at least two hairs indicating purberty.

93. A person who does not read the Shema morning and evening, or the
one who publicly violates the Divine Commands should not be. counted in
with those who unite in saying Grace. A true proselyte may Join others to
recite Grace, and he may also recite the verse: ‘““Who has caused our fathers
to inherit,” for it is written concerning Abraham (Genesis 17:5): “For a fa-
ther of many nations have I made thee,” and this verse is interpreted to mean:
In the past he had been the father of Assyria only, but thenceforth the fa-

£ all nations.
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Forbidden Foods

1. The blood found in eggs is forbidden. Occasionally it is forbidden
to eat the entire egg 00 account of blood-spots. Therefore, the egg should be
examined before using it in the preparation of food.

2. The use of the blood of fish is permitted, but if it is collected into a
vessel, its use is forbidden for the sake of appearance, because people might
think that it is forbidden blood. If, however, it is evident that it is the blood
of a fish, as when it contains scales, then its use is permissible.

3. If we bite off a piece of bread or any other food, and blood from our
gums is upon it, we must cut off the tinted part and throw it away. The
blood from the gums may be soaked up on @ weekday, since it has not dis-
charged itself, but not on.a Sabbath. (See chapter 80, section 54, below).

4. Blood is sometimes found in milk, which comes out of the cow’s ud- ..

der together with the milk; when that occurs, a rabbi should be consulted.

5. Meat and dairy products may not be eaten or cooked together, nor
is it permissible to derive any benefit from such mixed foods. If, therefore,
meat and dairy products happen to become mixed together, a rabbi should be
consulted, as in certain instances & benefit may be derived from it, while in
others it may not.

6. Two Jewish acquaintances may not eat at one table, if one eats
meat and the other dairy products, even though they are at odds, unless they
make a noticeable mark between them, for instance, by, having a separate
cover laid for each, or by placing upon the table a certain article that gen-
erally does not belong there, between their respective food. They must be
careful not to drink any liquid out of the same vessel, as the food clings to it.

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7. We must not eat of the same loaf of bread with both meat and dairy
products. It is customary to have two salt-cellars, one for meat and another
for dairy products, because at times the food is dipped into the salt, and part
of the food may have remained in it.

8. tis customary to mark all utensils used for dairy foods, so that they
might not be interchanged with those used for meat.

9. After eating meat or a dish prepared with meat, we should wait six
hours before eating dairy food, and the one who masticates food for an infant
is also obliged to wait that length of time. If after waiting six hours, we find
particles of meat between our teeth, we must remove it, but we need not
wait thereafter. We should cleanse our mouth and rinse it, that is, we should
eat a little bread to cleanse our mouth with it, and then rinse our mouth
with water or any other liquid.

10. If one has eaten food which contained neither meat nor animal fat,
but was cooked in a pot used for boiling meat, even if that pot has not been
cleansed beforehand, it is permissible to eat dairy food immediately thereafter.

11. After eating cheese, we may eat meat immediately thereafter at
another meal, but we must carefully examine our hands to make sure that no
particles of cheese cling to them; we must also cleanse the teeth and rinse the
mouth. If the cheese was hard, that is to say, it was curdled by rennet and
was six months old, or if it had worms, we must wait six hours before eating
meat. -

12. If we desire to eat meat after eating cheese, we must remove from
the table the rest of the bread of which we ate with the cheese. Cheese should
not be eaten upon the tablecloth on which we have eaten meat, and con-
versely, no meat should be eaten upon the tablecloth upon which we have
eaten cheese; nor should we cut bread to eat with cheese, with a knife used
for cutting meat, or vice versa, even if the knife is clean. However, in an
emergency, as when we are on a journey, we are allowed to cut the bread to
eat with cheese with a knife that has been used for cutting meat, or vice
versa, if the knife is thoroughly clean.

13. If we cut onions or some other pungent things with a knife used for
cutting meat, and put it in food made of milk, or vice versa, a rabbi should
be consulted as to the fitness of the food.

14. If we prepare a dish of meat with the extract of almonds, we must
put whole almonds in it on account of its deceptive appearance (because it
looks like milk, thus averting the suspicion of having transgressed the law,
by having boiled meat and milk together).

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15. Itis not customary ritually to purify utensils used for dairy food,
to make them fit for use of meat, or vice versa.

16. If we give wine, meat or a piece of fish into the care of a non-Jew,
without making any special mark (by which it may be recognized, and es-
pecially so when given to an Israelite who is suspected of tampering with it,)
either to store it or to forward it, we must put a double seal on it. But one
seal suffices for boiled. wine, wine-vinegar, bread or cheese.

17. If we give something in 4 sack to a non-Jew, either to be forwarded
or to be stored, it is necessary that the stitches of the sack be on the inside
and it must be tied and sealed.

18. If we happen to forward, through 2 non-Jew, & slaughtered beast
or fowl or anything else without a seal, then we must consult a rabbi about it.

19. Cheese or other articles of food which are in the hands of a nop-Jew,
although they are sealed or stamped, stating that they are ritually fit for food,

are, neverthelesss, unfit for use as long a5 we do not know’who has sealed them.

20. Care should be taken that a Jew and a non-Jew should not cook or
fry, together in uncovered pots or frying pans, one pot containing food which
js ritually fit, and the other containing ritually unfit food. Care should also
be taken not to leave any pots in the care of non-Jewish servants, when there
is no Jew in the house, OF when there is no Jew going in and out.

91. It is forbidden to purchase wine or any food, the ritual fitness of
which may be doubtful, from one who does not have 4 reputation for comply-
ing with the dietary laws. However, if we become such a persons guest, we
may eat with bim as long as we are not certain that there 1s ground for
suspicion.

92. Care must be taken not to leave culinary utensils in the house of a
non-Jew, lest he make use of them. Even when we give such utensils to &
non-Jew to be repaired, we must consult a rabbi, if there is a. possibility that
he has made use of them.

23. Occasionally people buy @ live fowl! with its legs trussed, they throw
it to the ground, and subsequently have it ritually killed. It is strictly for-
bidden to eat of such fowl; because when 2. beast or a fowl has fallen, its meat
is unfit for use unless we see it walk thereafter at least: four cubits (six feet).
Tt is well to be extremely careful in regard to this matter with lambs and
calves as well.

94, During the summer, slight swellings like warts are at times found
upon the intestines of ducks and maby of them become ritually unfit for food
because of that. It is, therefore, advisable to examine the intestines, and if
such swellings are found, a rabbi should be consulted.

 

 

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25. We must not knead dough with milk, lest it be eaten with meat, and

ior this reason it is even forbidden to eat the bread itself, if it has been en-

tirely prepared in that manner. If, however, it was only in a small quantity,
sufficient only for one meal, or if the bread has been shaped in such a manner
that it can be easily discerned that it is not to be eaten with meat, it is per-
missible to prepare it with milk. The same law applies to the use of animal
fat in the kneading of dough. We must not bake bread with pancakes or
pies in one oven, as the butter or the fat may flow under the bread; and if
it is so baked, it may not be used even by itself, as though it were kneaded .
with it.

26. If bread has been baked and meat has been roasted in the same oven
and the oven was closed while the meat was uncovered, it is forbidden to eat
that bread with dairy foods. It is permitted, however, to eat the bread with
milk if the roasted meat was covered, or if the oven is as large as our modern
ovens and has been open. Care should, however, be taken not to roast meat
in an oven in which bread is being baked, as the grease may flow under the
bread, and this may happen even if the roast is in a frying pan.

97. If milk or grease overflows on the bottom of an oven, the oven must
be cleansed by means of glowing heat in accordance with the law, that is to

say, glowing coal should be spread upon the entire surface so that it is heated
white.

98. Castrated cocks may be eaten, because we rely on the presumption
that the non-Jewish castrator is an expert, and would not cause any defect
in the entrails of the cock by sewing it up. But if any defect: is found, be it
only a dislocation of the entrails, thay may not be eaten.

29. Insome communities, non-Jews raise geese for the purpose of selling
them to Jews, and they generally stab them with a needle or the like under
their wings, so that the flesh becomes swollen and the geese may look fat. A
rabbi should be consulted as to whether or not such geese are fit to eat. It
happens also that when the life of an animal is endangered by being overfed,

. itis stuck with an awl beneath its belly as a cure, and a rabbi should be con-

sulted whether or not such an animal is fit for use.

30. In preserving fruit, it is customary to place them in a jar which is
covered and tied with a bladder skin over the opening, and it is thus placed
into a hot oven so that the fruit may be preserved. The bladder skin must
be from an animal that is ritually fit for food, and it must also be salted and
properly rinsed to make it fit for use.

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with very small insects, round as a lentil which are upon their bodies, by and
upon their fins, in their mouths, and behind their ears; they should be ex-
amined in such places and well scraped off.

44. The worms found in cheese, may be eaten with the cheese if they
are not loathsome to him, as long 3s they are not separated from it.

45. Many Divine Commands are contained in the Torah, forbidding
the eating of creeping things. Many Divine Commands are violated upon
eating them and they also defile the body, as it is written (Leviticus 41:48):
“That ye should be defiled thereby.” Therefore, one must be very careful
not to become 4 victim of that sin.

46. If we have consulted a rabbi and he has forbidden the use of a
subject in question, we raust not consult another rabbi about the same mat-
ter, unless we notify him of the decision of the first rabbi.

CuapTsr 47
Non-Jewish Wine and Making the Vessels Fit for Use

1. Nowadays the ordinary wine of a non-Jew, or J ewish wine that has
been touched by a non-Jew, is, according to the opinion of some authorities,
forbidden only for drinking purposes, but not forbidden to derive any benefit
from it. Therefore, we are permitted to take non-Jewish wine in payment of
a debt due us, for it is equivalent to saving it from a loss. The same law
applies to a case, when we have violated the law and have purchased wine
from them. But it is forbidden in the first instance to buy wine from them in
order to make a profit by it. Other authorities are lenient even as regards
the latter case, but it is best to follow the stricter opinion.

2. Wis permissible to make a bath out of non-Jewish wine for a sick
person although he is not critically il.

3. If kosher wine that has been boiled until its quantity was reduced
by evaporation, is touched by a non-Jew, jt may be used even for the purpose
of drinking it. Wine, into which spices have been put, as long as it still re-
tains the name wine and has not been poiled, becomes forbidden when touched
by a non-Jew.

4. Victuals mixed with wine, the presence of which is not discernable,
even if the victuals have not yet been brought to a poiling point, do not be-
come unfit for use if they have been touched by @ non-Jew.

5. If wine is adulterated with six parts of water, the wine becomes
nullified and does not become forbidden by the touch of anon-Jew. However,
raisin wine, that is, when water is poured upon the raisins, is considered as
true wine.

6. If water is poured upon the kernels of pressed grapes, OF upon the
lees of wine, as long as it is improved for the purpose of drinking by doing
go, it becomes forbidden when nN non-Jew.

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7. Ifsome wine has been extracted from the grapes pressed in a tank,
be it even only a small quantity, or if some wine has been taken out of it
into a vessel, the entire contents of the tank is legally called wine, and it be-
comes forbidden by the touch of a non-Jew even if only the kernels or the
husks have been touched. It is, therefore, forbidden to make use of the tanks
of grapes found in the house of a non-Jew, for it is likely that the non-Jew
has already extracted some wine from it. It is forbidden to let a non-Jew
press grapes in a tank, even if such a tank is provided with a stopper.

g. We must also be careful not to let a non-Jew remove the kernels
and the husks from the wine-press, even after we have already extracted the
first and second wine from it, as they might still be moist with wine.

9. Ifa non-Jew has poured water into wine with the intention of di-
luting it, we are not allowed to drink from it. But if he bad not intended to
dilute it, or even if it is only doubtful whether he has intended to do so, its
use is permissible.

10. If vinegar is made out of kosher wine, and it is 50 strong that it
seethes when poured upon the ground, it no longer becomes forbidden by the
touch of a non-Jew. But if vinegar is made out of non-Jewish wine, it always
remains forbidden.

11. Brandy that is made out of non-J ewish wine, or of kernels and husks
or of lees, is considered like the wine itself. But brandy made.out of kosher
wine, is no longer rendered unfit for use by the touch of a non-Jew.

12. It has become a prevailing custom to permit the use of Tartaric
acid, since it is not tasteful.

13. Sia non-Jew touches wine by means of something else (not a part
of his body), or if it is touched through his power, rabbi should be con-
suited as to the fitness of the wine.

14. When we send wine through a pon-Jew, we must take the precau-
tion of doubly sealing the mouth or the faucet of the vessel.

15. There are many diverse laws regarding the wine that a Jew makes
for a non-Jew, for the purpose of selling it to Jewish consumers. In certain
instances, even double seals and a lock are of no avail. Tt is necessary to
consult an ordained rabbi as to what procedure to follow in such a case.
The scrupulous should avoid the use of such wine.

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if in a box, with dew on the top and dew at the bottom. Tt is well to taste the
Sabbath food on Friday.

g. Even the poorest man in Israel should endeavor with all his might
to luxuriate in the Sabbath. He should economize the whole week to save
enough money for the Sabbath meals. If necessary, one should even borrow
money on a pledge in order to provide for the Sabbath. Of such a person, our
Rabbis, of blessed memory, Say (Betzah 15a): ‘Said the Holy One, blessed be
He, to His people Israel: ‘My children, borrow for My sake and Iwill repay
“youl” Aman’s needs for the year are apportioned on Rosh H ashanah, with the
exception of his expenses for Sabbath and festivals, for which—if he spends
~ more he is given more. If, however, one js in dire straits, one should be
"guided by the maxim of the Sages (Shabbot 118a): “Make thy Sabbath asa
weekday, rather than depend on men.” Nevertheless, if at all possible, one

- should do at least some minor thing in honor of the Sabbath, like procuring
small fishes, or something similar. Tf something edible is sent to someone for the
Sabbath, he should eat it on the Sabbath and not leave jt for a weekday.

9. No regular work should be done on Friday from the Minhah ke-
tannah (small minhah; 3:30 p.m.) on. But casual work is permissible. It is
forbidden to make clothes for someone else. But when a person is poor and
he desires to earn enough for the Sabbath meals, he may work all day Friday,
just the same as on Hol Hi ammoed (Intermediate Days of the festivals). Giv-
ing @ haircut to a Jew is permissible all day on Friday, even if one is a
professional barber and he does it for pay, inasmuch as it is obvious that the
hair cutting is for the sake of the Sabbath. It is customary to close shops an
hour before the Sabbath sets in.

10. From the ninth hour (3:30 p-mn.) on, we should abstain from having
a regular meal, even the kind we are accustomed to have on weekdays. A
feast, which we do not generally have on weekdays, even if it is on the occa
sion of performing religious act, is forbidden even on Friday morning, if it
can be postponed for another day. However, if it poust be given on that day,
like one on the oceasion of a circumcision, OF the redemption of a first-born,
may be held. Nevertheless, it is proper to have it in the morning and not
eat too rauch, certainly not to eat to excess, so that we may eat the Sabbath
meal with relish.

i. A Jew must read every week the entire weekly portion of the Torah;
that is, he must read the. Scriptural text twice, and the Targum once. The
reading may begin on Sunday. However, it is best to do so Friday afternoon.
One should read twice each Parshah (subdivision), whether it ends a chapter
or not, or even when it ends in the middle of a verse, and then read the
Targum once. After finishing the Targum, one must read one verse of the

prayers, provided we do not lose thereby the opportunity of joining in public
prayer with the congregation. It is preferrable to make the purchases for the
Sabbath on Friday rather than on Thursday. However, articles of food re-
quiring preparation, should be procured on Thursday. While making the pur-
chases, we should say: “J¢ is in honor of the Sabbath.” In accordance with
the ordinances of Ezra, the clothes for the Sabbath should be washed on
Thursday, not on Friday, as on that day all attention is needed for the prep-
aration of the Sabbath needs.

5. Every man, even one who has many servants, must do something
himself in honor of the Sabbath, thereby doing homage unto it, as it was the
habit of the Amoraim (authors of the Talmud, or the Gemara). Rab Hisda,
for instance, used to cut the vegetables very thin. Rabbah and Rab Joseph used
to chop wood for cooking. Rab Zera was in the habit of lighting the fire over
which the Sabbath food was cooked. Rab Nabman put the house in order,
bringing in all the utensils needed for the Sabbath and putting away the
things used during the weekdays. We should emulate their example and not
regard it as undignified, for by honoring the Sabbath, we honor ourselves.

6. It isa prevailing custom among all Jews to bake some loaves of
bread in their homes in honor of the Sabbath. If a person eats non-Jewish
bread on weekdays, he shall make it a point to eat Jewish bread on the holy
Sabbath. Even if he eats J ewish bread during the week, be should have bread;
baked in the house for the Sabbath, so that the mistress of the house be given -
the opportunity to perform the precept requiring her to separate the Hallah
(the first of the dough). For Adam was created on Friday, and he was des-
tined to be the Hallah, the choice of the world, but this excellence was lost by
the woman’s sin, therefore, she has to make amends (by separating the first
of the dough). Three loaves should be baked, a large one, 4 moedium one, and
a small one; the medium one for the Friday evening meal, the large one for
the daytime meal, to indicate that the day is of greater importance, and the
small loaf for the third meal.

7. We should procure meat, fish, dainties, and good wine for the Sab-
bath, in accordance with our means. It is proper to eat fish at every Sabbath
meal. But if it does not agree with us, we should not eat it, because the Sab-
bath is given us for pleasure and not for suffering. The cutlery should be
sharpened and polished, and fresh coverings should be put on the beds. We
should also have the household furniture nicely arranged, and the table
covered with a fresh cloth, which is to remain on the table the entire Sabbath
day. Some people place two cloths on the table. We should rejoice with the
coming of the Sabbath. The expectation of a dear and distinguished guest
would cause us to hustle and bustle. How much more so should we act when
the guest is Queen Sabbath! There is a custom in some places to make pies
for the Friday evening meal, in commemoration of the manna, which lay as

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chase. It is best not to live in a community where the fair takes place on a
s. But if it is held in a non-

Sabbath, for it is impossible to avoid violation
Jewish quarter, it does not matter.

5. (e) The work should not be connected with the soil, such as build-
ing, or farm work. We are not allowed to have a non-Jew work on a building
on the Sabbath, even if we have agreed to pay him a certain amount for the
entire work. In case of urgent necessity, we should consult a rabbi. On. the
Sabbath, it is forbidden even to let a non-Jew quarry stones or prepare lum-
ber for building purposes, if it is known that they belong to a Jew, and if the
non-Jew works on it publicly in the street. This rule applies also to farming,
such as ploughing or reaping, even if the non-Jew is hired at a stipulated
whole task. If, however, the non-Jew has a share in the crops,
rker to receive a share in the

tain whether a needle is stuck in them, or if there is anything in the pockets.
This must be done even in places where there is an eruv (see chapter 94, be-
low), because the pockets might contain something muktzeh (an article un-
touchable on the Sabbath).

CuarTer 73
Work Done by a Non-Jew on the Sabbath

1. A Jew is forbidden to allow a non-Jew to do work for him on the
Sabbath. This law is based upon the Biblical verse (Exodus 12:16): “No
manner of work shall be done,” which implies even by a non-Jew. However,
if the work is delivered to the non-Jew on Friday, it is permissible even if he
does it on the Sabbath, but only on the following conditions: (a) The non-
Jew should take the work before the Sabbath, but not on the Sabbath day.

price for the

and it is customary in that region fora farm wo
le. If the farm is far away, where there is no Jew in the

crops, it is permissib is in
vicinity within two thousand cubits (three thousand feet), it is permissible,

if the non-Jew performs the work at a stipulated sum, so long as he is not

hired by the day.
6. Ifanon-Jew has iegally built a house for a Jew on the Sabbath, it

is well to be scrupulous and not move into it. (There are many divergent ©

opinions about this).
7. The owner of a farm or a mill may rent it to a non-Jew, although he
e Sabbath. But it is forbidden to rent a bathing es-

will work there on th
tablishment to a non-Jew. Lf the Jew does not own the bathing establisnment,

but only rented it from non-Jew, he should consult a rabbi on how to act.
The owner of a hotel, a glass factory, a brick factory, and the like, should

also consult a rabbi how to act.

g. Adew is forbidden, under any circumstances, to allow a non-Jew to

do work at his house on the Sabbath. Even if a non-Jewish servant desires

to do some work for himself on the Sabbath, he should be forbidden by the
Jewish employer.

9. Ifa non-Jewish tailor made a garment for a Jew and brought it to
him on the Sabbath, he is permitted to put it on. If, however, it is known
that the tailor has completed it on the Sabbath, it should not be worn, unless
in a case of extreme necessity. It is forbidden to take utensils or garments
from the house of a artisan, even & Jewish artisan, on a Sabbath or-on @

festival. From a non-Jew who is not a manufacturer, but owns a shop where

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2. (b) The amount of compensation should be stipulated in advance,
then the non-Jew does the work for his own sake, in order to get paid. There-
fore, one who employs a non-Jewish servant, is forbidden to allow the latter
to do any work on the Sabbath, as the work is done solely for the benefit of
the Jew. If a non-Jew travels to a certain place (before the Sabbath), and a
Jew asks him to deliver a letter, which will have to be carried on the Sabbath,
he should be given some reward. Then he does it for compensation and not
gratis.

3. (c) The non-Jew should be paid a stipulated amount for the entire
work and not hired by the day.

4. (d) A Jew is forbidden to engage a non-Jew to complete some work
before a certain time if it is clear that the non-Jew cannot complete it unless
he worked on the Sabbath. If a Jew sends a written message through a non-
Jew and tells him: “See to it that you deliver it on such and such a day,”
and it is obvious that he cannot reach there on that day unless he travels on
the Sabbath, this is likewise forbidden. If a fair is to be held on the Sabbath,
a Jew is not allowed to give money to a non-Jew on Friday to buy things for
him, if he knows that the non-Jew cannot obtain it on any other day except on
the Sabbath. Likewise, he is forbidden to give him anything to sell. However,
if he does not explicitly tell the non-Jew to do the work on the Sabbath, it is
forbidden only when he delivers the work to him on Friday, but before that
day he is permitted to give him some work, or some money to make a pur-

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has not as yet recited the kiddush, should first drink a mouthful from the cup,
and then an additional quarter of a lug. This may be done also before pray-
ing the Musaph service, if one’s heart is faint.

15. After praying the Shakart (morning) service, a person who feels
faint, may partake of some food before praying the Musaph, that is, he may

eat bread no more than the size of an egg, but he may eat plenty of fruit to :

refresh himself. He must, however, first recite the kiddush, and drink a
mouthful of wine, and then an additional quarter of a lug—for in an emer-
gency, the drinking of that much wine may be considered as having a meal—
or he may drink that quantity of wine, and then eat the size of an olive of
food made of one of the five species of grain.

16. Every Jew, man or woman, is duty bound to eat three meals on
the Sabbath, one on Sabbath-eve and two during the day. At each of the
three meals, one must eat bread (and since the hands are washed and the
benediction Al netilat yadayim is pronounced, one must eat of the bread no
less than the size of an egg.) Therefore, one should not eat to excess at the
morning meal. If, however, one finds it impossible to eat bread at the third
meal, he should, at least, eat pastry or any food made of one of the five
species of grain over which the benediction Bore mine mezonot is pronounced.
If this, too, is impossible, one should at least eat something that is eaten
with bread, such as meat or fish. And if this too is impossible, one should, at
any rate, partake of cooked fruit. The time for eating the third meal begins
at one and one-half hours past noon.

17. On the Sabbath we must say the benediction Hamotzt over two
loaves of bread at every meal. While saying the Hamotet, we hold both loaves
in our hands, and we cut one of them. Before saying the Hamotzt, it is cus-
tomary to make a mark with the knife upon that part of the loaf we desire
to cut, the reason for it being, as stated in chapter 41, paragraph 3, above,
that on weekdays we are required to cut a little around the bread before say-
ing the benediction, but on the Sabbath it cannot be done, because the loaves
must be whole when the Hamoizt is said, Therefore, we should at least mark
the place to be cut, in order that we may know the exact spot where it is to
be cut and not pause too long before deciding where to cut. We should place
the loaves in such a way that the one we desire to cut should be closer to us,
so that we would not (by passing one loaf) act as if we are ignoring a poten-
tial object of a mitzvah. We must have two whole loaves at every meal, even
if we eat many meals during the day. In the morning when saying the
kiddush, and we partake of pastry, we should also have two whole cakes.

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18. If only one of those seated at the table is provided with double
loaves, he should say the Hamotzt and exempt the others, who need not say
the Hamotzi themselves. Before reciting the Hamotzi, he should say, Bireshut
morat verabbotai (with the permission of my teachers and masters), and after

eating some of the bread, he gives each one a slice.

19. If we have neglected to read the weekly portion of the Pentateuch
on Friday, we must read it in the morning before the meal. If we forget to
read it before the morning meal, we should read it at least before the Minhah
service, and post facto it may be read at any time before Tuesday evening.

20. On the Sabbath, it is forbidden to abstain from food, even for a
short time for the purpose of fasting. And it is forbidden to abstain from eat-
ing until noontime, even if it is not intended as a fast.

21. It is forbidden to grieve over any distress, God ‘forbid, but one
should pray for mercy to the Master of Mercy.

92. On the Sabbath one should partake generously of fruits and del-
icacies, and inhale sweet odors, in order to complete the total of one hundred
benedictions. Indeed, it is meritorious to partake of everything that provides
one with pleasure, as it is written (Isaiah 58:18): “And thou shalt call the
Sabbath a delight.”

23. If one is accustomed to take a nap after the meal, he shall do so.
But one shall not say: “I will sleep so that I may do some work or start on a
journey at the conclusion of the Sabbath.”

94. After such sleep, a time should be set aside for the study of the
Torah. For, relating to the Sabbath, it is written (Exodus 35:1): “And Moses
asserabled.’”? And our Rabbis, of blessed memory, asked (Tanhuma, Vayak-
hel): ‘Why is in this portion written, ‘And he assembled,’ and not elsewhere
in the Torah? God said to Moses: ‘Go down, make assemblies on the Sabbath,
so that the generations to come will also convoke assemblies for the study of
the Torah.’” They further said (Yerushalmi, Shabbat 15:13): “Sabbaths and
festivals were given to Israel for the studying of the Torah. For many are too
occupied with their daily tasks during the week to study the Torah regularly,
but on Sabbaths and festivals, being relieved from their work, they can study
the Torah properly.” Hence, those who are unable to study the Torah during
the week, are especially obliged to study on the holy Sabbath, each man ac-
cording to his knowledge and ability.

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flour, meat and their concomitants, to the latter as a gift, who acquires posses- kiddush over a cup of wine before the meal, and utter the benediction Hamotet
sion of these things by lifting them, and then he cooks and bakes for him and it ot, §
may be done even in the house of the one who had forgotten to make the Hruv wine, and dainties as our means permit.

6. Every householder is required to make an Eruv tavshilin for him: 4. On concluding the evening kiddush on every festival, we say the
self, Even a woman who has no husband is required to do so, if she know benediction Sheheheyanu (who hath kept us in life), except on the seventh
how to perform it. One must not rely on the Eruv made by the leader of th and eighth nights of Passover when this benediction 1s omitted, because these
town. If by accident, a person failed to make an Erun, or if he has made oni two days are not a distinct festival in themselves. When lightite the candles,
but it was lost, then if there is one in town who makes an Eruv for all the town. women should not say the benediction Sheheheyanu on any festival. Some

people (that is, he gives them a share in the victuals and in the bread, as i women, however, say Sheheheyanu on all festivals (except on the seventh and
explained in Shulhan Aruh), he may rely upon such a Eruv. If, however, i

eighth nights of Passover), and they should not be interfered with.
was due to negligence, or because he had relied upon the Hruv of the leader Every man is obliged to gladden the hearts of his wife, his children,
it will not avail him, and his case is to be governed by the laws laid down i

nd all his dependents, in a manner appropriate to each. Thus, we should
section 5, above. ve nuts and dainties to the little children, apparel and ornaments to the
omen, and meat and wine to the men. It is the custom to fare more sump-
uously on a festival than on the Sabbath, because concerning the festival, the
‘orah mentions ‘“yejoicing’ (Deuteronomy 16:14), but it is not mentioned
oncerning the Sabbath. The holiday garments should also be costlier than
those of the Sabbath.

6. On the second day of Passover, we should add some extra dish to
he regular meal, commemorative of the feast of Esther which took place on
this day, for it was on this day that Haman was hanged.

7. Itis customary to eat dairy food on the first day of Shavuot. There
are many reasons for that. A hint of this custom is found in the phrase
pyniyiava [9 win nia (Numbers 28:26). The initials of these
words spell out sSnn (“of milk”). Also honey should be eaten on this
day, because the Torah (given on this day on Sinai) is compared to honey and
milk, as it is written (Song 4:11): “Honey and milk are under thy tongue.”
Now, inasmuch as dairy food is eaten on this holiday, while it is also necessary
to partake of meat, the eating of meat being mandatory on every holiday,
great care should be taken not to mix the dairy and the meat foods.

g. Although eating and drinking on a festival is a positive precept, we
‘should not spend the entire day indulging in food and drink, because it is
written (Deuteronomy 16:8): “A holy assembly to the Lord your God,” and
Ht is also written (Numbers 29 35): “A holy assembly it shall be to you.”
The Rabbis, of blessed memory, explained it thus (Betzah 15b): “We should
‘divide the day into two parts, devoting one-half to the service of God, and
the other half to our own pleasures.” Therefore, it is our duty to engage also
in the study of the Torah.

9. Whena man eats and drinks on a festival, it is his duty to take care
also of the orphan and the widow, as well as others who are in need. He who
ocks the doors of his house in order to eat and drink with his wife and chil-
dren, and gives nothing to the poor and the mournful souls, is not rejoicing
ina precept, but merely indulging in gluttony. Concerning such people, it is

 

7. Ifa festival occurs on Thursday and Friday, and on Thursday w
become aware that we have neglected to make an Hruv, we may make it that.
day, say the prescribed benediction, and thereafter say: “Tf this day is holy,
then I need not make the Erwz, and if this day is not holy, then, ‘By this.
eruv, etc.” But this cannot be done on Rosh Hashanah.

Caaprer 103
Rejoicing on a Festival

1. It is our duty to honor all the festivals and take delight in them,
just as we are to honor and take delight in the Sabbath, as it is written
(Isaiah 58:13): “And the holy of the Lord honorable,” and concerning all the
festivals, it is written: “A holy convocation.”

2. What constitutes honor? As our Rabbis, of blessed memory, said:
On the day before the festival we must cut our hair, in order not to usher in
the festival in an untidy appearance. We should also bathe in warm water
wash the head, and pare the nails on the day before the festival, even as w
do on the day before the Sabbath. We should also bake hallot (white loave
of bread) in our homes in honor of the festival, just as we do on the eve of th
Sabbath. On the day before a festival, we are also forbidden to eat after th
time set for the Minhah service (3:30 p.m.), just as on the day before th
Sabbath, so that we may eat the festival meal with a good appetite. If th
day before the festival occurs on the Sabbath, the third meal should be eate
before the small Minhah (see chapter 59:2, above) that is, 3:30 p.m. This.
law also applies to the first day of a festival, as that is the eve of the second |
day of the festival.

3. What is meant by delight? As our Rabbis, of blessed memory, sai
On each day of a festival, we must have two meals, one at night and one
during the day, but no third meal is required. We should also recite the

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over two hallot, as we do on the Sabbath. We should be as lavish with meat, °

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On the conclusion of Yom Kippur, we eat and drink and rejoice;
itis stated in the Midrash Rabbah (Kohelet 9): “On the conclusion of
om Kippur a heavenly voice goes forth and says: ‘Go, eat thy bread with
“and drink with a merry heart thy wine, for God has already accepted
deeds favorably.”

The meticulously devout begin the construction of the Sukkah im-
ediately after Yom Kippur, in the spirit of the verse (Psalms 84:8): ‘They
om strength to strength.”
1. On the day after Yom Kippur, it is customary to rise early and go to
e synagogue to pray. We do not fast, between Yom Kippur and Sukkot;
1 on the occasion of a Ji ahrzeit. We also omit the Tahanun (petition for
race) on these days, because they are days of rejoicing, during which the
was dedicated in the days of Solomon. In this interval we are to engage
he building of the sukkah, preparing the etrog (citron) and the other ac-
essory species, in honor of the Lord of Lords, who hath sanctified Israel and

seasons.

    
   
 
   
       
      
      
        
      
   
  
       
       
      
       
      
    
 
     
      
      
  
    
    
 
     
      
       
 
 
    
      
      
    
    
    
      
      
    

Cope or Jewish Law Cope oF Jewish Law

    

us), because the heavenly judgment is not concluded until Israel conclude
the order of prayers below. If the stars have already become visible, w
should not say, Hayyom yifneh (the day is nearly past), because that woul
be speaking falsehood. We should say instead: Hayyom panah, hashemes
ba ufanah (the day has passed, the sun has set and is gone). But the haza:
recites birhat kohanim (the priestly benediction), and stm shalom (bestoy
peace) even if it is already night.

25. We should abolish the custom to have a non-Jew light candles fo
the purpose of reciting the liturgic poetry of NV etlah, but he should distribut
the burning candles throughout the synagogue, because this is merely di
regarding a Rabbinical enjoinder in a secondary and indirect manner.

26. When the Neilah service is concluded, we say Avinu malkenu (our
Father, our King), even if it is a Sabbath and still day. Then we say once,
Shema yisrael (hear, O Israel); three times, Baruh shem kevod malhuto leola
vaed (blessed be His name whose glorious kingdom is forever and ever) an
seven times, Adonai hu haelohim (the Lord, He is God). It is to send.o
the Divine Presence, to the higher spheres of the seventh heaven. The haza:
then chants the whole kaddish in a joyous tone, after which the shofar i
sounded once, symbolic of the ascension of the Divine Presence, as it wa
when the Torah was given on Sinai. For when the Divine Presence ascended
it is written (Exodus 19:13): ‘‘When the ram’s horn soundeth long,” ete
and it is also written (Psalms 47:6): ‘The Lord is gone amidst shouting, th
Lord amidst the sound of the horn.” It also commemorates the sounding 0
the shofar on the Yom Kippur of the Jubilee year. The shofar may be sounde

   

    

 

  

CuapTer 134
The Sukkah (Tabernacle)

1. Itisa meritorious act to start building the sukkah immediately after
m Kippur, even if it is a Friday, because a chance to perform a precept
should not be put off. One should choose for it a clean site. Every one should
sonally build the sukkah, even if one is an eminent person. For it is an
or to perform a precept in person. By right, the benediction Sheheheyanu
o hat kept us in life) should be said upon erecting the sukkah, but the
heheyanu benediction said in the kiddush also includes the construction.
One should embellish the sukkah and adorn it by placing in it fine furniture
d beautiful spreads to the full extent of one’s means.
9. There are many different opinions regarding the walls of the sukkah,
which not everybody is well versed. It is essential, therefore, to make the
lls of the sukkah compact and strong, so that the wind could not shake
them or blow out the candles. If one has not enough material with which to
ke four walls, one should rather erect three complete walls than four in-
mplete ones. A person who can afford it, should build a sukkah with a roof
hat.can open and close on hinges, so that he can close it in case of rain and
reopen it when the rain is over. Thus the covering of the sukkah can be kept
, and the precept properly observed.
-3. There are also many different opinions regarding the roofing of the
Kkkah. Elowever, since we generally cover it with the branches of trees, or
th reeds, which are detached products of the soil, and not subject to de-
ement, and are not tied together, there is no cause for scruples.

   
  

it should not be sounded in the daytime. After the sounding of the shofar, al
say three times, Leshanah habaah birushalayim (Next year in Jerusalem).

27. After the stars become visible, we pray the Maariv service, and it
well to delegate as hazan a reputable man. The prayers should be recite
slowly and devoutly. Those who pray hurriedly should be rebuked. In th
Shemoneh esreh, we include, Atiah honantanu (Thou hast bestowed upon us
If it is Saturday night, we recite Veyttien leha (and God give thee), but-w
omit Vihi noam (may the pleasantness), and Veaitah kadosh (and Thou ar
holy). After the prayers, the sanctification of the moon is performed, an
friendly greetings are exchanged with merriment and joy as on a festival.

28. In the havdalah of Yom Kippur night, the benediction for light mu:
be said over a candle that had been kindled before Yom Kippur, and not ov
a light that is now produced by means of a match and the like. The mo
preferable way is to light a candle from the light of another candle that ha
been lit in the house the day before, and say the benediction over both.
there is no burning candle in the house, one should bring a burning cand
from the synagogue, light another candle from this one, and say the benedic-
tion over both. In an emergency, we may say the benediction over a candle
lit from the candle of a non-Jew, or by a match, and the like. We do not
begin the havdalah with Hinneh el yeshuati (behold the God of my salvation),
but we say the benedictions over a goblet of wine, over the light, and Ha-
mmavdil (who hath made a distinction); no benediction is pronounced over.
spices. If it is Saturday night, we also say the benediction over spices, and
we begin with Hinneh el yeshuati, as we do on the conclusion of an ordinary

abbath.

 
  
  

 
 

   
  

 
   
   
  

  

    

   

 
 
  

 
 

  

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Cope oF JEWISH Law

out further preparations,

3. Everybody, even the poorest in Israel who is himse

persons. One should not m:
puts out his hand and begs,
ty where there are n0 poor people, one must either keep the Purim mo
ney until one meets poor persons, Or send it to some needy persons that be

knows.

4. Women, too, must send gifts to their
ity on this day. Women should send gifts to women, and men to men, but
regards charity to the needy, women may help men, and men may hel
women. Some women depend on their husbands that they give for them

they should be more exacting about it.

drinking, and making merry.
be joyful and eat some-

well; but this is improper;

5. Purim must be celebrated by eating,
Also on the night of the fourteenth of Adar, one must
what more abundantly. Tf Purim occurs on Saturday night, although one.
must have a third meal on the Sabbath, one should eat a little less during the
day in order to be able to enjoy the Purim repast. Nevertheless, the obliga-
tion of feasting on Purim is not fulfilled by the feast that we make at night
be held in the daytime. For it is writte
(Esther 9:22): “Days of feasting.” It is appropriate to light candles as b
comes a festival occasion, even though the meal is had in the daytime. 0
there should also b joici
charity and the sending of gifts to friends also should be performed durin,
the daytime. And because people are
part of the repast is had in the night time.
said while it is yet broad day,
the greater part of the feast should be had while it is yet
occurs on a Friday, the feast is held in the morning, in deference to the Sab-
bath. It is well to engage in the study of the Torah for a short time before
beginning the feast. A support for this view is found in the verse (Esther
” and “light” is defined as having reference to the

eat some seeds on Purim

the principal Purim feast is to

the night of the fifteenth,

8:16): “The Jews had light,
Torah. Some authorities say
to recall the seeds which Daniel and his comrades ate in Babylon, and also to
bad eaten. For the Talmud says (Megillah 16b)
“The verse (Esther 2:9): ‘And he advanced her and the maidens to the best,
means that he permitted her to have seeds for her food.”

recall the seeds that Esther

VO

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ow . ye

such as boiled meat,
wine, mead, or something similiar.

that it is appropriate to

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— Ea oes na

 

 

   
  
 

fish, confectionery, fruits,

e downiall of Haman was due
; made it obligatory on every one to become drunk,
bliged to regale himself on

If dependent on
charity, is to give at least one gift each to two poor persons, for it is written
(Esther 9:22): “And gifts to the poor,’ )
ake any inquiries in g
should be given alms.

  

> which means, two gifts to two poo
iving to the poor. Whoeve
Tf one lives in a commun

    

    
  
  
 
   
  
     
  
  
 
  
  

God forbid, to slight some
‘| lead him, God forbid, to levity, it is

friends and contribute to cha d; for al! our deeds must be

7. Amourner,
end gifts to the needy and p
dthem anything that will caus
urner the entire twelve months,
ure. If the mourner is a poor

article that is not calculated
other. person dwell in that place, a gift must b
rye the precept of sending po
apter 41:21, above).

r may be performed on Purim, and whoever performs any
i erive any bene

“have work done for us by a no

   
  
 
 
 
  
  

concerned with sending out portions,
The Minhah prayer is, therefore,
and the feast is held after Minhah. But at lea:
day. When Puri

   

edo not say Tahanun (petition

it is also forbidden to
make rather festive mea!
nnissin. (We thank Thee for the miracles) is sai
this day, but not on the fourteenth of Adar,
and we do not join one

  

 

it is a joyous event,
10. On the fourteenth and fifteenth days
neither Tahanun, nor Bl ereh appayim,
is also forbi
efourteenth, our me

   
  
  
  
  

to write even a social letter,

anything that does not require much

 

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to wine,

one should drink more than he is accustomed,
asleep, he will be unable

“Blessed be Mordecai.’

precept,

even during the first
ortions to

man,
to cause joy.

deliver funeral orations
ls and to be merry on

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Cope or JzwisH Law

_ .4ince the whole miracle of Purim was occasioned through wine:
ti met her fate at the wine feast and Esther took the crown in her stead;
therefore, the Sages, of blessed mem-
and ordained: ‘One
Purim, until one is unable
een ‘Cursed be Haman,’ and ‘Blessed be Mordecai.’” At least to com-
emorate tine great miracle,
‘| he falls asleep, and while
n “Cursed be Haman” and
icate constitution, likewise if one knows that drunkenness may cause
a benediction or a prayer, or that it

best for him not to become intoxi-
for the sake of Heaven.

seven days of mourning, is obliged
his friends; he should not, however,
e joy. But we do not
even a thing that is not of a joy-provoking
it is permissible to send him money or
Tf only the mourner and one
e sent to him, in order to ob-
rtions. (For the law regarding an onan, see

fit from it. But it is permissible
n-Jew. It is also permissible to attend to
to make a note of debts due, and to do
concentration. Especially is it permiss-
le 40 write something of a feligious nature or do some work for the per-
ance of a precept. For the requirements of P
erform any labor.

The fifteenth day of Adar is known as Shushan Purim. On this day
for Grace), nor El ereh appayim (O God,
ou art long-suffering), nor Lamenatzeah (To the chief musician). On this
or to fast. It is customary
Shushan Purim, but no Al
d. Marriages are permitted
when the Megillah is read,
festive event with another-

of the first Adar (in a leap-
nor Lamenatzeah is said, and
dden to deliver funeral orations or to fast
als are more or less of a festive nature.

 

> However, if one has

urim it is permissible to

to differentiate be-

to differentiate be-

send anything to a

on those days. On

 

 

 
